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                         IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF VIRGINIA


      ELIZABETH SINES et al.,                        )      CASE NO. 3:17-cv-00072
                                                     )
                                                     )      Judge MOON
                  Plaintiffs,                        )
                                                     )
             v.                                      )
                                                     )
      JASON KESSLER et al.,                          )
                                                     )
             Defendants.                             )

      DEFENDANTS’ OBJECTIONS AND COUNTER DESIGNATIONS IN RESPONSE
      TO PLAINTIFFS’ DESIGNATIONS OF THE DEPOSITION OF ELLIOTT KLINE
      _____________________________________________________________________

             Defendants Jason Kessler, Nathan Damigo, and Identity Evropa (“Defendants”)
      object generally to any designation that contains hearsay. Defendants further generally
      object to any designation that lacks foundation, is irrelevant, or violates R. 403.
      Defendants reserve the right to designate portions of this deposition not specifically
      included herein due to the plaintiffs only serving their designations on November 1, 2021
      and plaintiffs stating they may present the deposition as early as November, 3, 2021.
      Defendants further reserve the right to make specific objection not included below for the
      same reason.


      Specific Objections:
      101: 10-24 Hearsay;
      106: 1-21 Foundation;
      110: 18-111:24 Hearsay, foundation;
      112: 19-113:6 Hearsay;
      115: 24-117:2 Foundation;
      150: 13-151:23 Relevance;
      151: 16-19; Relevance;
      151: 20-23 Relevance;
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      158:7-22 Relevance;
      158:18-159:2 Relevance;
      168:05-169:12 Relevance;
      325: 20-327:2 R. 403, Relevance;
      430:24-431:22 R. 403, Relevance;
      454:19-22 Hearsay;
      456: 1-23 Hearsay;
      Specific designations:
      108: 1-19;
      110: 12-14;
      129: 7-22;
      134: 3-21;
      202: 13-203:18;
      204: 5-9;
      219: 24-220:11;
      226: 16-229:12;
      260: 20-262:10;
      281: 7-23;
      282: 4-25;
      306: 15-307:15;
      308:11-309:2;
      328:10-23;
      332: 18-334:17.




                                              Respectfully Submitted,
                                              s/ James E. Kolenich
                                              ____________________________
                                              JAMES E. KOLENICH (0077084)
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                                                          JEK318@GMAIL.COM
                                                          Trial Attorney for Plaintiff

                                    CERTIFICATE OF SERVICE

      A true copy of the foregoing was served via the Court’s CM/ECF system on November 3,
      2021 upon all parties of record. Parties requiring alternate service were served as listed
      below:

      Eli.f.mosley@gmail.com
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      azzmador@gmail.com




                                                          s/ James E. Kolenich
                                                          J.E. Kolenich 0077084
